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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA ~
FT. MYERS DIVISION

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

Plaintiff,
CIVIL ACTION NO.::

DIMARE RUSKIN, INC.,

Defendant.

 

PLAINTIFF EQUAL EMPLOYMENT OPPORTUNITY COMMISSION’S
COMPLAINT AND DEMAND FOR JURY TRIAL

This is an action under Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. §2000¢ et seq. (“Title VI’), and Title I of the Civil Rights Act of 1991, 42 U.S.C.
§1981a, to correct unlawful employment practices on the basis of sex, female, and/or
retaliation for complaining about and/or objecting to the unlawful employment practices,
and to provide appropriate relief to Lucia Reyes (“Reyes”), Catalina Ramirez (formerly,
Catalina Jaimes) (“Ramirez”), and a class of similarly situated female employees who
were adversely affected by such practices.

As alleged with greater particularity in paragraphs 14 through 29 below, the Equal
Employment Opportunity Commission (the “Commission’”) alleges that DiMare Ruskin,

Inc. discriminated against former employees Reyes and Ramirez and a class of similarly
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situated female employees who worked at Defendant’s DiMare Immokalee division, by
subjecting them to sexual harassment during 2008 and 2009. The Commission also
alleges that Defendant retaliated against Reyes and Ramirez for objecting to and

complaining about the sexual harassment.
JURISDICTION AND VENUE

1, Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,
1337, 1343 and 1345. This action is authorized and instituted pursuant to Section
706(f)(1) and (f)(3) of Title VI, 42 U.S.C. §2000e-5(f)(1) and (3), and Section 102 of the

Civil Rights Act of 1991, 42 U.S.C. §1981la.

2, The employment practices alleged to be unlawful herein were committed
within the jurisdiction of the United States District Court for the Middle District of

Florida, Ft. Myers Division.
PARTIES

3. Plaintiff Equal Employment Opportunity Commission is an agency of the
United States of America charged with the administration, interpretation and enforcement
of Title VII, and is expressly authorized to bring this action by §§ 706(f)(1) and (£)(3) of

Title VII, 42 U.S.C. § 2000¢-5(£)(1) and (£)(3).

4, At all relevant times, the Defendant, DiMare Ruskin, Inc. (“Defendant”)
or “DiMare’”) has continuously been a Florida corporation doing business in the State of

Florida and the City of immokalee and has continuously had at least 15 employees.
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5. At all relevant times, Defendant was the employer of and had supervisory
control of all individuals employed at its DiMare Immokalee facility (“DiMare

Immokalee”).

6. At all relevant times, Defendant has continuously been an employer
engaged in an industry affecting commerce under Section 701(b), (g), and (h) of Title VIE,

42 U.S.C. § 2000e (b), (g), and (h).

7. Defendant owns and operates tomato growing and packing operations in

Florida and California.

8. Reyes worked for Defendant at DiMare Immokalee during the 2008-2009

tomato seasons, which began in August 2008 and ended in June 2009.

9. Ramirez worked for Defendant at DiMare Immokalee during the 2008-

2009 tomato seasons.

10.  Atall relevant times, Ricardo Campbell was employed by Defendant at

DiMare Immokalee as a crew leader with supervisory control over employees in his crew.

11. Atall relevant times, Richard Lee Campbell was employed by Defendant
at DiMare Immokalee as a crew leader with supervisory control over employees in his

crew.

12. Richard Lee Campbell is the son of Ricardo Campbell.
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ADMINISTRATIVE PROCEEDINGS

13. More than thirty days prior to the institution of this lawsuit, Reyes and
James each filed a charge of discrimination with the Commission alleging violations of
Title VII by Defendant DiMare. All conditions precedent to the institution of this lawsuit

have been fulfilled.
STATEMENT OF FACTS
Catalina Ramirez

14. In January 2009, Catalina Ramirez began working for Defendant as a

seasonal farm worker at DiMare Immokalee.

15. Ramirez was supervised by Defendant’s crew leaders, Ricardo Campbell

and/or Richard Lee Campbell.

16. Ricardo Campbell began sexually harassing Ramirez in January 2009, and

continued physically and verbally harassing her on almost a daily basis until April 2009.

17. | Ricardo Campbell subjected Ramirez to repeated and regular vulgar and
unwelcome comments of a sexual nature, including, but not limited to, saying that he was
not going to stop pursuing her, he wanted to kiss her all over her body and on her breasts

and she would regret turning him down for sex because he was well-endowed.
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18. | Ricardo Campbell subjected Ramirez to nonconsensual physical touching
on several occasions, which included forcing her hand to his crotch and forcibly

attempting to kiss her.

19. Ricardo Campbell assigned Ramirez to more physically demanding and
strenuous work assignments because Ramirez consistently rejected and objected to his
sexual harassment. He told Reyes that he gave Ramirez the more arduous work

assignment so she would “give up her ass” to him before giving it to anyone else.

20. | Because Ramirez consistently rejected and objected to his sexual

harassment, Ricardo Campbell terminated Ramirez by refusing to give her any work

assignments.
Lucia Reyes
21. Lucia Reyes began working for Defendant at DiMare Immokalee as a

seasonal farm worker on an intermittent basis in October 2008. In January 2009, she

began working on a regular basis.

22. Reyes was supervised by Defendant’s crew leaders, Ricardo Campbell

and/or Richard Lee Campbell.

23. Richard Lee Campbell began sexually harassing Reyes in Cctober 2008,

and continued verbally harassing her on almost a daily basis until April 2009.
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24. Richard Lee Campbell repeatedly and regularly subjected Reyes to vulgar,
unwelcome comments of a sexual nature, including, but not limited to, saying she’s “hot”

and has a “really nice ass” and that he wanted to have sexual intercourse with her.

25. With Richard Lee Campbell’s encouragement and in Reyes’ presence,
other male workers made vulgar and unwelcome comments of a sexual nature to Reyes
about her and other female employees, including, but not limited to, saying they would

like to have sexual intercourse with her.

26. Ricardo Campbell also subjected Reyes to nonconsensual physical

touching on several occasions, which included sexual touching and groping.

27. Because Reyes consistently rejected and objected to Ricardo Campbell’s
and Richard Lee Campbell’s sexual harassment, Ricardo Campbell terminated Reyes by

refusing to give her any work assignments.
Similarly Situated Female Employees

28. Throughout the August 2008 through June 2009 tomato seasons at DiMare
Immokalee, a class of similarly situated female DiMare employees were subjected to

sexual harassment by DiMare Immokalee supervisory employees Ricardo Campbell and

Richard Lee Campbell.
29. The sexual harassment of the class of similarly situated female employees
included:
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a. Ricardo Campbell and Richard Lee Campbell regularly subjecting
female workers to vulgar and unwelcome comments of a sexual

nature; and

b. Ricardo Campbell and Richard Lee Campbell subjecting female
employees to nonconsensual physical touching included, but not

limited to, groping, grabbing and trying to kiss female workers.

c. Female workers subjected to sexual harassment include Gladis Galvez
(a/k/a Blanca Rueda) who was subjected to verbal harassment and
nonconsensual physical touching based on her sex including, but not
limited to, groping, grabbing, vulgar sexual comments, and attempts to

forcibly kiss her.
STATEMENT OF CLAIMS

30. On a continuing basis throughout the September 2008 through June 2009
tomato seasons, Defendant DiMare engaged in unlawful employment practices at its
DiMare Immokalee facility, in violation of 42 U.S.C. § 2000e-2(a) and 42 U.S.C. §

2000e-3(a) by:

a. subjecting Reyes and Ramirez and a class of similarly situated female
employees who worked at DiMare Immokalee between September
2008 and June 2009 to sexual harassment by Defendant DiMare’s

supervisory employees; and
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b. retaliating against Reyes and Ramirez because they complained about
and opposed the sexual harassment. The retaliation included assigning
Ramirez to more physically demanding assignments and terminating
Ramirez and Reyes because they complained about the sexual
harassment and rejected Ricardo Campbell’s and Richard Lee

Campbell’s sexual advances.

31. The effect of the practices complained of in paragraphs 14 through 29
above has been to deprive Reyes, Ramirez, and a class of similarly situated female
employees who worked at DiMare Immokalee during the 2008-2009 tomato seasons of
equal employment opportunities and otherwise adversely impact their status as

employees because of their sex.

32. The unlawful employment practices complained of in paragraphs 14
through 29 above were intentionally done with malice and/or reckless indifference to the
federally protected rights of Reyes, Ramirez, and a class of similarly situated female
employees who worked at DiMare Immokalee during the September 2008 through June

2009 tomato seasons.
PRAYER FOR RELIEF
WHEREFORE, the Commission respectfully requests that this Court:

A. Grant a permanent injunction enjoining Defendant DiMare, its officers,

agents, servants, employees, attorneys, and all persons in active concert or participation
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with it, from engaging in sexual harassment against employees, retaliating against
employees who object to sexual harassment, and engaging in any other employment

practice that discriminates on the basis of sex.

B. Order Defendant DiMare to institute and carry out policies, practices, and
programs that provide equal employment opportunities for women and that eradicate the

effects of its past and present unlawful employment practices.

Cc. Order Defendant DiMare to make whole Lucia Reyes, Catalina Ramirez
and a class of similarly situated female employees who worked at the DiMare Immokalee
facility between September 2008 and June 2009, by providing all affirmative relief

necessary to eradicate the effects of its unlawful employment practices.

D. Order Defendant DiMare to make whole Lucia Reyes, Catalina Ramirez
and a class of similarly situated female employees who worked at the DiMare Immokalee
facility between September 2008 and June 2009, by providing compensation for past and
future pecuniary losses resulting from the unlawful employment practices described in
paragraphs 14 through 29, including any mental health expenses, and other out-of-pocket

expenses, in amounts to be determined at trial.

E, Order Defendant DiMare to make whole Lucia Reyes, Catalina Ramirez
and a class of similarly situated female employees who worked at the DiMare Immokalee
facility between September 2008 and June 2009, by providing compensation for past and

future non-pecuniary losses resulting form the unlawful employment practices
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complained of in paragraphs 14 through 29 above, including emotional pain, suffering,
inconvenience, loss of enjoyment of life, and humiliation, in amounts to be determined at

trial.

F, Order Defendant DiMare to pay to Lucia Reyes, Catalina Ramirez, and a
class of similarly situated female employees who worked at the DiMare Immokalee
facility between September 2008 and June 2009, punitive damages for its malicious and
reckless conduct described in paragraphs 14 through 29 above, in amounts to be

determined at trial.

G. Grant such further relief as the Court deems necessary and proper in the

public interest.
H. Award the Commission its costs in this action.
JURY TRIAL DEMAND

The Commission requests a jury trial on all questions of fact raised by its

Complaint.
Dated: March 21, 2011
Respectfully submitted,

P. DAVID LOPEZ
General Counsel

JAMES L. LEE
Deputy General Counsel

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